Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 1 of 90 PageID #: 1
 24-cv-6123

  MERKL, M.J.
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 2 of 90 PageID #: 2
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 3 of 90 PageID #: 3
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 4 of 90 PageID #: 4
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 5 of 90 PageID #: 5
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 6 of 90 PageID #: 6
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 7 of 90 PageID #: 7
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 8 of 90 PageID #: 8
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 9 of 90 PageID #: 9
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 10 of 90 PageID #:
                                     10
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 11 of 90 PageID #:
                                     11
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 12 of 90 PageID #:
                                     12
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 13 of 90 PageID #:
                                     13
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 14 of 90 PageID #:
                                     14
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 15 of 90 PageID #:
                                     15
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 16 of 90 PageID #:
                                     16
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 17 of 90 PageID #:
                                     17
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 18 of 90 PageID #:
                                     18
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 19 of 90 PageID #:
                                     19
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 20 of 90 PageID #:
                                     20
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 21 of 90 PageID #:
                                     21
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 22 of 90 PageID #:
                                     22
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 23 of 90 PageID #:
                                     23
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 24 of 90 PageID #:
                                     24
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 25 of 90 PageID #:
                                     25
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 26 of 90 PageID #:
                                     26
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 27 of 90 PageID #:
                                     27
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 28 of 90 PageID #:
                                     28
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 29 of 90 PageID #:
                                     29
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 30 of 90 PageID #:
                                     30
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 31 of 90 PageID #:
                                     31
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 32 of 90 PageID #:
                                     32
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 33 of 90 PageID #:
                                     33
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 34 of 90 PageID #:
                                     34
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 35 of 90 PageID #:
                                     35
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 36 of 90 PageID #:
                                     36
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 37 of 90 PageID #:
                                     37
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 38 of 90 PageID #:
                                     38
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 39 of 90 PageID #:
                                     39
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 40 of 90 PageID #:
                                     40
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 41 of 90 PageID #:
                                     41
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 42 of 90 PageID #:
                                     42
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 43 of 90 PageID #:
                                     43
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 44 of 90 PageID #:
                                     44
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 45 of 90 PageID #:
                                     45
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 46 of 90 PageID #:
                                     46
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 47 of 90 PageID #:
                                     47
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 48 of 90 PageID #:
                                     48
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 49 of 90 PageID #:
                                     49
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 50 of 90 PageID #:
                                     50
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 51 of 90 PageID #:
                                     51
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 52 of 90 PageID #:
                                     52
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 53 of 90 PageID #:
                                     53
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 54 of 90 PageID #:
                                     54
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 55 of 90 PageID #:
                                     55
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 56 of 90 PageID #:
                                     56
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 57 of 90 PageID #:
                                     57
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 58 of 90 PageID #:
                                     58
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 59 of 90 PageID #:
                                     59
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 60 of 90 PageID #:
                                     60
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 61 of 90 PageID #:
                                     61
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 62 of 90 PageID #:
                                     62
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 63 of 90 PageID #:
                                     63
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 64 of 90 PageID #:
                                     64
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 65 of 90 PageID #:
                                     65
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 66 of 90 PageID #:
                                     66
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 67 of 90 PageID #:
                                     67
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 68 of 90 PageID #:
                                     68
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 69 of 90 PageID #:
                                     69
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 70 of 90 PageID #:
                                     70
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 71 of 90 PageID #:
                                     71
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 72 of 90 PageID #:
                                     72
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 73 of 90 PageID #:
                                     73
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 74 of 90 PageID #:
                                     74
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 75 of 90 PageID #:
                                     75
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 76 of 90 PageID #:
                                     76
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 77 of 90 PageID #:
                                     77
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 78 of 90 PageID #:
                                     78
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 79 of 90 PageID #:
                                     79
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 80 of 90 PageID #:
                                     80
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 81 of 90 PageID #:
                                     81
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 82 of 90 PageID #:
                                     82
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 83 of 90 PageID #:
                                     83
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 84 of 90 PageID #:
                                     84
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 85 of 90 PageID #:
                                     85
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 86 of 90 PageID #:
                                     86
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 87 of 90 PageID #:
                                     87
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 88 of 90 PageID #:
                                     88
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 89 of 90 PageID #:
                                     89
Case 1:24-cv-06123-RPK-TAM   Document 1   Filed 08/30/24   Page 90 of 90 PageID #:
                                     90
